           Case 4:22-cv-02072 Document 1 Filed on 06/27/22 in TXSD Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

SAFE IP LLC,                                    )
     Plaintiff,                                 )
                                                )       Civil Action No. 4:22-cv-02072
v.                                              )
                                                )
ANTHOLOGY, INC.,                                )       JURY TRIAL DEMANDED
    Defendant.                                  )

           PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

           Safe IP LLC (“Safe”) files this Original Complaint and demand for jury trial seeking relief

from patent infringement of the claims of U.S. Patent No. 9,043,375 (“the ‘375 patent”) (referred

to as the “Patent-in-Suit”) by Anthology, Inc. (“Blackboard”).

     I.       THE PARTIES

     1. Plaintiff Safe IP LLC is a Texas Limited Liability Company with its principal place of

business located in Travis County, Texas.

     2. On information and belief, Blackboard is a corporation organized under the laws of the

State of Delaware with a regular and established place of business at 11200 Westheimer Rd #365,

Houston, Texas 77042. On information and belief, BLACKBOARD sells and offers to sell

products and services throughout Texas, including in this judicial district, and introduces products

and services that perform infringing methods or processes into the stream of commerce knowing

that they would be sold in Texas and this judicial district. BLACKBOARD can be served with

process through their registered agen or wherever they may be found.

     II.      JURISDICTION AND VENUE




                                                    1
       Case 4:22-cv-02072 Document 1 Filed on 06/27/22 in TXSD Page 2 of 5




    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business

contacts and other activities in the State of Texas and in this judicial district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this District.

Further, venue is proper because Defendant conducts substantial business in this forum, directly

or through intermediaries, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct and/or

deriving substantial revenue from goods and services provided to individuals in Texas and this

District.

    III.    INFRINGEMENT - Infringement of the ‘375 Patent

    6. On May 26, 2015, U.S. Patent No. 9.043,375 (“the ‘375 patent”, included as an attachment)

entitled “SEARCHING THE INTERNET FOR COMMON LEMENTS IN A DOCUMENT IN

ORDER TO DETECT PLAGIARISM,” was duly and legally issued by the U.S. Patent and

Trademark Office. Safe owns the ‘375 patent by assignment.

    7. The ’375 patent relates to a novel and improved plagiarism detection system system and

associated methods.




                                                    2
          Case 4:22-cv-02072 Document 1 Filed on 06/27/22 in TXSD Page 3 of 5




       8. BLACKBOARD offers for sale, sells and manufactures one or more plagiarism detection

system systems that infringes one or more claims of the ‘375 patent, including one or more of

claims 1-15, literally or under the doctrine of equivalents. Defendant put the inventions claimed

by the ‘375 Patent into service (i.e., used them); but for Defendant’s actions, the claimed-

inventions embodiments involving Defendant’s products and services would never have been put

into service. Defendant’s acts complained of herein caused those claimed-invention embodiments

as a whole to perform, and Defendant’s procurement of monetary and commercial benefit from it.

       9. Support for the allegations of infringement may be found in the attached exemplary claim

chart. These allegations of infringement are preliminary and are therefore subject to change.

       10. BLACKBOARD has and continues to induce infringement from at least the filing date of

the lawsuit. BLACKBOARD has actively encouraged or instructed others (e.g., its customers

and/or the customers of its related companies), and continues to do so, on how to use its products

and services (e.g., plagiarism detection system systemS) and related services that provide question

and answer services across the Internet such as to cause infringement of one or more of claims 1-

15 of the ‘375 patent, literally or under the doctrine of equivalents. BLACKBOARD, from at least

the filing date of the lawsuit, has continued to encourage and instruct others on how to use the

products showing specific intent. Moreover, Defendant has known of the ‘375 patent and the

technology underlying it from at least the filing date of the lawsuit.1                          For clarity, direct

infringement is previously alleged in this complaint.

       11. BLACKBOARD has and continues to contributorily infringe from at least the filing date

of the lawsuit. BLACKBOARD has actively encouraged or instructed others (e.g., its customers

and/or the customers of its related companies), and continues to do so, on how to use its products



1
    Plaintiff reserves the right to amend and add inducement pre-suit if discovery reveals an earlier date of knowledge.

                                                            3
            Case 4:22-cv-02072 Document 1 Filed on 06/27/22 in TXSD Page 4 of 5




and services (e.g., plagiarism detection system systemS) and related services that provide question

and answer services across the Internet such as to cause infringement of one or more of claims 1-

15 of the ‘375 patent, literally or under the doctrine of equivalents. BLACKBOARD, from at least

the filing date of the lawsuit, has continued to encourage and instruct others on how to use the

products showing specific intent.               Further, there are no substantial noninfringing uses for

Defendant’s products and services. Moreover, Defendant has known of the ‘375 patent and the

technology underlying it from at least the filing date of the lawsuit. 2 For clarity, direct infringement

is previously alleged in this complaint.

       12. BLACKBOARD has caused and will continue to cause Safe damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ‘375 patent.

       IV.      JURY DEMAND

             Safe hereby requests a trial by jury on issues so triable by right.

       V.       PRAYER FOR RELIEF

WHEREFORE, Safe prays for relief as follows:

     a.      enter judgment that Defendant has infringed the claims of the ‘375 patent through selling,

             offering for sale, manufacturing, and inducing others to infringe by using and instructing

             to use camera systems for monitoring a driver;

    b.       award Safe damages in an amount sufficient to compensate it for Defendant’s infringement

             of the Patents-in-Suit in an amount no less than a reasonable royalty or lost profits, together

             with pre-judgment and post-judgment interest and costs under 35 U.S.C. § 284;

     c.      award Safe an accounting for acts of infringement not presented at trial and an award by

             the Court of additional damage for any such acts of infringement;



2
    Plaintiff reserves the right to amend and add inducement pre-suit if discovery reveals an earlier date of knowledge.

                                                            4
     Case 4:22-cv-02072 Document 1 Filed on 06/27/22 in TXSD Page 5 of 5




d.   declare this case to be “exceptional” under 35 U.S.C. § 285 and award Safe its attorneys’

     fees, expenses, and costs incurred in this action;

e.   declare Defendant’s infringement to be willful and treble the damages, including attorneys’

     fees, expenses, and costs incurred in this action and an increase in the damage award

     pursuant to 35 U.S.C. § 284;

f.   a decree addressing future infringement that either (if) awards a permanent injunction

     enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

     subsidiaries, and those in association with Defendant from infringing the claims of the

     Patents-in-Suit, or (ii) awards damages for future infringement in lieu of an injunction in

     an amount consistent with the fact that for future infringement the Defendant will be an

     adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

     future infringement will be willful as a matter of law; and

g.   award Safe such other and further relief as this Court deems just and proper.



                                            Respectfully submitted,

                                            Ramey LLP

                                            /s/William P. Ramey, III
                                            William P. Ramey, III
                                            Texas Bar No. 24027643
                                            wramey@rameyfirm.com
                                            Jeffrey Kubiak
                                            Texas Bar No. 24028470
                                            jkubiak@rameyfirm.com
                                            5020 Montrose Blvd., Suite 800
                                            Houston, Texas 77006
                                            (713) 426-3923 (telephone)
                                            (832) 900-4941 (fax)

                                            Attorneys for Safe IP LLC



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